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                       UNITED STATES DISTRICT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
v.                                )        Case No. 21-cr-00303-ABJ
                                  )
DEBORAH LEE,                      )
                                  )
                Defendant.        )




            DEFENDANT DEBORAH LEE’S MOTION TO DISMISS




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       NOW COMES Defendant DEBORAH LEE, by and through her counsel of

record, John M. Pierce, Esq., and respectfully request this Honorable Court, dismiss the

information filed in this action, pursuant to Fed. R. Crim. P. 12(b).

       The Supreme Court granted certiorari in Beckles on several grounds, but

ultimately resolved the case after only considering one—whether a defendant could

bring a vagueness challenge against provisions of the “advisory Guidelines.” Beckles

v. United States, No. 15-8544, 2017 WL 855781 at *3 (U.S. 2017). The Court held that

Beckles could not mount such a challenge.

       While vagueness challenges have a place at sentencing, but only for “statutes

fixing sentences.” Id. at *5. Thus, ACCA's residual clause was subject to challenges

because ACCA was a statute that fixed a sentence. Advisory Guidelines, however,

provide only guidance to steer the discretion of judges and do not fix sentences.

Historically, “districts courts ‘had wide discretion to decide whether the offender

should be incarcerated and for how long.’” Id. at *6, quoting Mistretta v. United States,

488 U.S. 361, 363 (1989). In “the long history of discretionary sentencing, this Court

has ‘never doubted the authority of a judge to exercise [such] broad discretion.’” Id.,

quoting United States v. Booker, 543 U.S. 220, 233 (2005). If a system with no

discretion could not be challenged for vagueness, neither court a system that attempts

to channel that discretion.

       Therefore, because “they merely guide the district courts' discretion, the

Guidelines are not amenable to a vagueness challenge.” Id. at 7. The same reason and

logic apply here and explained:

       1. The information, and each count of it, fails to allege facts sufficient to

constitute an offense against the United States or the laws thereof.




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       2. The allegations contained in the information, and each count of it, are so

vague, ambiguous, and indefinite that they do not inform the defendant of the nature of

the case against her prevent her from adequately preparing a defense, and do not prevent

the possibility of a subsequent prosecution for the same offense.

       3. The information is vague and uncertain, and fails to be or contain a plain,

concise, and definite written statement of the essential facts constituting the offense

sought to be charged.

       4. Various of the material allegations contained in the information are

contradictory and inconsistent with each other, as a result of which the information fails

to adequately and fairly inform the defendant of the offense sought to be charged

against her.

       5. The information was based on incompetent and insufficient evidence, and

there was no substantial or rationally persuasive evidence submitted in support of the

information.

Dated: June 13, 2022                            Respectfully Submitted,

                                                 /s/ John M. Pierce
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                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, June 14, 2022, I caused a copy of the foregoing

document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




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